                       No. 24-10462-DD

                             In the
              United States Court of Appeals
                  for the Eleventh Circuit

                   UNITED STATES OF AMERICA,
                                            Plaintiff-Appellant,

                               v.

                      EMMANUEL AYALA,
                                            Defendant-Appellee


         ON APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF FLORIDA
                   NO. 8:22-CR-369-KKM-AAS-1


           REPLY BRIEF OF THE UNITED STATES


                                    ROGER B. HANDBERG
                                    United States Attorney

                                    DAVID P. RHODES
                                    Assistant United States Attorney
                                    Chief, Appellate Division

                                    SEAN SIEKKINEN
                                    Assistant United States Attorney
                                    Appellate Division
                                    USA No. 192
                                    400 N. Tampa St., Ste. 3200
                                    Tampa, FL 33602
December 9, 2024                    (813) 274-6000
                       United States v. Emmanuel Ayala
                             No. 24-10462-DD

                     Certificate of Interested Persons
                   and Corporate Disclosure Statement

      The initial certificate of interested persons and corporate disclosure

statement filed by the United States is complete.

      No publicly traded company or corporation has an interest in the

outcome of this appeal.




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                   Argument and Citations of Authority

      The district court erred in dismissing count one of the indictment, as we

explain in our principal brief. That charged offense, a violation of 18 U.S.C.

§ 930, does not violate the Second Amendment. The Supreme Court and this

Court have decided that firearm restrictions in schools and government

buildings are the sort of longstanding restrictions that comport with the Second

Amendment. And even if that were not the case, the historical record here

shows that this restriction satisfies Bruen, and that’s especially so as refined by

Rahimi.

      I.    Heller’s and Bruen’s explicit acceptance of firearm
            prohibitions at schools and government buildings
            should resolve this appeal.

      Ayala argues that the Supreme Court’s repeated assurances that its

opinions in Heller and Bruen cast no doubt on presumptively lawful firearm

prohibitions in schools and government buildings do not govern this case, as

they are non-binding dicta. See Ayala’s brief at 25–38. 1 This Court, though,

has already rejected that argument, recognizing in both United States v. Rozier,

598 F.3d 768, 771 n.6 (11th Cir. 2010), and United States v. Dubois, 94 F.4th

1284, 1292 (11th Cir. 2024), that the Supreme Court’s treatment of those sorts


      1
       We use the parties’ pagination, rather than the clerk’s, when citing the
parties’ briefs.

                                        1
of prohibitions is binding (and would be entitled to substantial deference—

controlling deference here—regardless). See United States’ principal brief at

22–24.

      In Rozier, 598 F.3d at 771 n.6, this Court addressed one portion of that

assurance in Heller—firearm prohibitions for convicted felons—quoting that

part of the Supreme Court’s list of lawful firearm restrictions: “‘[N]othing in

our opinion should be taken to cast doubt on longstanding prohibitions on the

possession of firearms by felons ... .’” Id. at 771 (emphasis ours, ellipsis this

Court’s) (quoting District of Columbia v. Heller, 554 U.S. 570, 626 (2008)). This

Court explained that “to the extent that [this language] limits [Heller’s

protections] to possession of firearms by law-abiding and qualified individuals, it

is not dicta.” Rozier, 598 F.3d at 771 n.6 (emphasis in original). After Bruen,

this Court quoted Rozier and confirmed that Heller’s now-repeated assurances

remain binding. See Dubois, 94 F.4th at 1292.

      Recall, the Supreme Court’s full statement in Heller was that the opinion

should cast no doubt on firearm prohibitions for felons or for the mentally ill or

“in sensitive places such as schools and government buildings.” Heller, 554

U.S. at 626. Ayala argues that the category quoted in Rozier and Dubois—

felons—was necessary to the decision in Heller, but the others were not,

because “Heller repeatedly identified law-abiding citizens as those protected by

                                         2
the Second Amendment.” Ayala’s brief at 30–31.

      But the issue in Heller was not whether felons or any other group could

possess firearms. The issue was whether the District of Columbia could

prohibit firearms in the home. See Heller, 554 U.S. at 635. The point of each

enumerated category was the same: Although the Second Amendment

guarantees the right to possess lawful firearms in the home for self-defense,

that does not open the door to attack certain other firearm regulations—not

laws prohibiting felons from possessing firearms, not laws prohibiting the

mentally ill from possessing firearms, and not laws prohibiting firearms in

schools or government buildings. Although footnote 6 in Rozier mentions only

the government’s authority to prohibit felons from possessing firearms, the

footnote does not distinguish the other categories of presumptively lawful

firearm regulations that Heller identified. Heller equated the government’s

authority to prohibit felons or the mentally ill from possessing firearms with its

authority to prohibit firearms in schools and government buildings. Then, in

Rozier, this Court acknowledged that the Supreme Court’s statement was not

dicta to the extent that it limits Heller’s protections “to possession of firearms

by law-abiding and qualified individuals.” Rozier, 598 F.3d at 771 n.6 (emphasis

this Court’s). This Court’s observation in Rozier does not suggest that Heller’s

recognition of presumptively lawful firearm prohibitions in schools and


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government buildings (which were not at issue in Rozier) was any less

necessary to Heller or should be entitled to less weight than Heller’s

simultaneous recognition of presumptively lawful prohibitions against felons

possessing firearms.

      And, although Ayala suggests that Heller acknowledged that its

statement was not a holding, Ayala’s brief at 31–33, the Court did not say that.

The Court stated that those “exceptions” to the Second Amendment had

“historical justifications,” which the Court would have “time enough to

expound upon” “if and when those exceptions come before” it. 554 U.S. at

635. The Court did not say that the exceptions were up to debate.

      To be sure, Heller emphasized that a person “disqualified from the

exercise of Second Amendment rights” has no right to possess a firearm at

home, 554 U.S. at 635, but that clarification does not make the restriction for

felons “more” necessary to the Court’s opinion, or make the limits as to

mentally ill persons or schools and government buildings “less” necessary.

Each limit was necessary, in the Court’s view, for the reason we have

explained. They collectively establish outer bounds for the framework that the

Court prescribed, as this Court observed in footnote 6 in Rozier. This Court’s

statement that the above-quoted language “is not dicta ... to the extent that [it]

limits the [Heller] opinion to possession of firearms by law-abiding and qualified


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individuals,” Rozier, 598 F.3d at 771 n.6 (emphasis in original), does not imply

that the quoted limit (as to felons) was more necessary than the limits that this

Court skipped over with an ellipsis (including presumptively lawful firearm

restrictions in schools and government buildings).

      Like any “comprehensive decision” of the Supreme Court, “almost all of

the opinion could be labeled dicta,” in the same way that Ayala characterizes

the limits in Heller and Bruen. See Faheem-El v. Klincar, 841 F.2d 712, 730 (7th

Cir. 1988) (Easterbrook, J., concurring) (emphasis added). The safeguards that

the Supreme Court famously decreed in Miranda v. Arizona are one example.

Those “details of Miranda ... could be disregarded,” in theory, “on the ground

that Ernesto Miranda had not been given any warning, so the Court could not

pronounce on the consequence of giving three but not four of the warnings on

its list.” Id. But the Supreme Court “has rebuffed arguments of this sort.” Id.

(collecting cases affirming Miranda and other “comprehensive” decisions). This

Court should likewise rebuff Ayala’s attempt to cast aside the parts of Heller

and Bruen that he doesn’t like.

      Nor does United States v. Rahimi, 602 U.S. 680 (2024), suggest that the

assurances were “not part of Heller’s holding” (or otherwise not entitled to

deference), as Ayala argues. Ayala’s brief at 34. To the contrary, the part of

Rahimi that Ayala cites provides guidance for future cases in much the same

                                       5
way as Heller and Bruen. After holding that the challenged statute did not

violate the Second Amendment, the Court went a step further and rejected the

United States’ alternative argument that “Rahimi may be disarmed simply

because he is not ‘responsible.’” Rahimi, 602 U.S. at 701–02 (explaining that

“‘[r]esponsible’ is a vague term” and “[i]t is unclear what such a rule would

entail”). And then, far from undermining those assurances, Rahimi repeated

them yet again: “But Heller never established a categorical rule that the

Constitution prohibits regulations that forbid firearm possession in the home.

In fact, our opinion stated that many such prohibitions, like those on the

possession of firearms by ‘felons and the mentally ill,’ are ‘presumptively

lawful.’” Rahimi, 602 U.S. at 699 (quoting Heller, 554 U.S. at 626–27).

      Likewise unpersuasive is Ayala’s reliance on the Supreme Court’s use of

the term “presumptively.” See Ayala’s brief at 29–33. For one thing, this Court

has already said that “[t]his language suggests that statutes disqualifying felons

from possessing a firearm under any and all circumstances do not offend the

Second Amendment.” Rozier, 598 F.3d at 771 (emphasis added). This is not

the language of something that’s “thought to be true because it is highly

probable,” as Ayala describes it. Ayala’s brief at 29. Rather, this Court

explained, the Supreme Court used the language it did to recognize “a

constitutional avenue to restrict the Second Amendment right of certain classes


                                        6
of people.” Rozier, 598 F.3d at 771. As discussed above, the Supreme Court

applied that same language to schools and government buildings, and the same

constitutional avenue permits the firearm restriction at issue here.

      Similarly unavailing is Ayala’s reliance on a supposed ambiguity created

by the Supreme Court’s use of the term “longstanding.” See Ayala’s brief at 28.

The Supreme Court has said that these specified restrictions—including on the

possession of firearms by felons and the mentally ill, and on the carrying of

firearms in sensitive places such as school and government buildings—are

longstanding, and the Court categorized them as lawful. The Court did not say

that each variation among these categories must be independently evaluated

for its longstandingness. See United States v. Class, 930 F.3d 460, 465 (D.C. Cir.

2019) (“‘schools’ and ‘government buildings’ [are] the paradigmatic ‘sensitive

places’ identified in Heller”), abrogated on other grounds by Bruen, 597 U.S. at

19 n.4. 2

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       Although FPC states in its amicus brief that Bruen identifies only three
examples of government sensitive spaces, FPC brief at 8 n.4, that’s incorrect.
The Court recognized the ‘“longstanding’ ‘laws forbidding the carrying of
firearms in sensitive places such as schools and government buildings’” and
invited the courts to analogize from them “to determine whether modern
regulations are constitutionally permissible.” Bruen, 597 U.S. at 31. Indeed, the
Court cited for that proposition a law review article that put it this way:
“Where may the government prohibit the bearing of arms? In District of
Columbia v. Heller, the U.S. Supreme Court offered a short answer: ‘in sensitive
places such as schools and government buildings.’” D. Kopel & J. Greenlee,
The “Sensitive Places” Doctrine, 13 Charleston L. Rev. 205, 229–236, 244–247
                                        7
        This Court, too, has made this clear. In United States v. Focia, 869 F.3d

1269, 1286 (11th Cir. 2017), for example, this Court upheld 18 U.S.C.

§ 922(a)(5) because it fit within that presumptively lawful group as a restriction

that “merely ‘impos[es] conditions and qualifications on the commercial sale

of arms.’” Id. at 1286. 3 This Court did so not because it deemed that particular

restriction to be longstanding; it did so because the restriction “qualifies as the

kind of ‘presumptively lawful regulatory measure[ ]’ described in Heller.” Id.

And this Court did the same thing in Rozier and Dubois. In neither case did this

Court analyze section 922(g) to determine whether its prohibition was a

longstanding one. This Court instead held that, under Heller, section

922(g)(1)—in restricting firearm possession by felons—is “a presumptively

lawful longstanding prohibition.” Rozier, 598 F.3d at 771. The same is true

here.

        In any event, this Court has explained that the Supreme Court’s

assurances are entitled to “considerable weight” even if they are dicta. Rozier,

598 F.3d at 771 n.6. “[D]icta from the Supreme Court is not something to be

lightly cast aside.” Peterson v. BMI Refractories, 124 F.3d 1386, 1392 n.4 (11th


(2018).

        3
      Heller’s accepted measures include this category, in addition to the felon,
mentally-ill, and sensitive-places restrictions. Heller, 544 U.S. at 626–27.
                                         8
Cir. 1997). And the Supreme Court has repeated this assurance three times

now. See Rocky Mountain Gun Owners v. Polis, 121 F.4th 96, 119 (10th Cir. 2024)

(“So, when it came to the statement and restatement that there are

presumptively lawful firearm regulations under the Second Amendment, from

Heller – to McDonald – to Bruen, our High Court went three-for-three.”).

      As the Tenth Circuit explained in “conclud[ing] that the Second

Amendment right to carry firearms does not apply to federal buildings, such as

post offices,” “[W]e are bound by Supreme Court dicta almost as firmly as by

the Court’s outright holdings, particularly when the dicta is recent and not

enfeebled by later statements.” Bonidy v. U.S. Postal Serv., 790 F.3d 1121, 1125

(10th Cir. 2015). The Court added that, “this dicta squarely relates to the

holdings itself, and therefore is assuredly not gratuitous” and “was

subsequently repeated largely verbatim and reendorsed by the Court several

years later in McDonald.” Id. 4

      In sum, Ayala provides no good reason for this Court to ignore Heller

and Bruen, specifically the Supreme Court’s repeated assurances that those

cases cast no doubt on laws prohibiting firearms in schools or government

      4
       Although the NRA states that Bonidy upheld the restriction based on
now-discredited intermediate scrutiny, NRA Amicus brief at 24, that is
incorrect. The Court applied that standard only as an alternative basis for its
holding, and only as to the post office’s parking lot. See Bonidy, 790 F.3d at
1123.

                                       9
buildings.

      II.    Regardless, the historical record sufficiently
             demonstrates a contemporaneous understanding of the
             government’s authority to restrict firearms in
             government buildings.

      As for Bruen’s historical-tradition test, Ayala argues that the historical

analogues cited in Heller, Bruen, and our principal brief do not suffice because

none involved firearm restrictions in post offices. See Ayala’s brief at 38–53.

We have already explained that such granularity is excessive, especially after

Rahimi emphatically rejected the Fifth Circuit’s insistence on such one-to-one

“twins.” See United States’ principal brief at 32–36 (discussing Rahimi, 602

U.S. at 690–92). Yet Ayala relies on the Supreme Court’s statement that

“when a challenged regulation addresses a general societal problem that has

persisted since the 18th century, the lack of a distinctly similar historical

regulation addressing that problem is relevant evidence that the challenged

regulation is inconsistent with the Second Amendment.” Ayala’s brief at 40

(quoting Bruen, 597 U.S. at 26). Ayala frames the relevant problem here as

“potential interference with postal services at a postal building” and claims that

it “lacks a distinctly similar historical regulation.” Id. But interference with

postal services at dedicated government buildings like modern post offices was

not a problem in the 18th century, or even for most of the 19th century,


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because such buildings did not exist until much later, as we have explained. See

United States’ principal brief at 34–35 and Exhibits A–D. The “post offices” of

the 18th and early 19th centuries were generally taverns, coffee shops, or

private residences. Id. We have found no record of any building owned or

leased by the government exclusively for postal use prior to the late 19th

century. Ayala’s own evidence supports this. He cites recent reports from the

State Department and the General Services Administration for the proposition

that “legislative buildings or courthouses were [not] the only type of

government buildings that historically existed.” Ayala’s brief at 46–47. We

don’t see how that’s relevant (no one disputes it), but regardless, the earliest

dedicated post office mentioned in either report is The Old Post Office in

Washington, DC. See GSA report. The Old Post Office was built between 1892

and 1899. See https://en.wikipedia.org/wiki/

Old_Post_Office_(Washington,_D.C.), last visited Dec. 3, 2024. It would make

no sense to measure the constitutionality of firearm restrictions in dedicated

post offices (or any other modern building) against historical restrictions in

buildings that did not exist at that time. See Wolford v. Lopez, 116 F.4th 959, 980

(9th Cir. 2024) (“[I]t is illogical to expect a government to regulate a place

before it existed in modern form.”). That would create “a law trapped in

amber,” contrary to the Supreme Court’s instructions in Rahimi, 602 U.S. at


                                        11
691. “[T]he reach of the Second Amendment is not limited only to those arms

that were in existence at the founding,” and, by the same logic, “the Second

Amendment permits more than just those regulations identical to ones that

could be found in 1791.” Id. at 691–92. Heller, Bruen, and the evidence cited in

our principal brief demonstrate that the regulation challenged here is

“analogous enough to pass constitutional muster” when compared to historical

firearm restrictions in government buildings that existed at the time of the

founding. See Rahimi, 602 U.S. at 692. Those examples need not be

voluminous, given the absence of historical “disputes regarding the lawfulness

of such prohibitions.” Bruen, 597 U.S. at 30. 5

      5
        Congress has recognized the sensitivity of the mail since the Founding.
Founding era law did not address post office buildings because they were not
yet in common existence. Instead, it protected “the delivery of the mails” by
federalizing and severely penalizing armed assaults against lawful custodians
and carriers of the mail. See Garcia v. United States, 469 U.S. 70, 80–82 (1984)
(Stevens, J., dissenting) (surveying postal laws from 1792 through 1909 that
made “it clear that a crime upon such a person was an unusually serious
matter, not only because it was a federal offense, but also because of the
severity of the mandated penalty”); see also Act of Feb. 20, 1792, ch. 7, § 17, 1
Stat. 237 (“That if any person or persons shall rob any carrier of the mail of the
United States, of such mail, or if any person shall rob the mail, in which letters
are sent to be conveyed by post, of any letter or packet, or shall steal such mail,
or shall steal and take from or out of the same, or from or out of any post-
office, any letter or packet, such offender or offenders shall, on conviction
thereof, suffer death”). There is no evidence that prohibiting firearms in
founding-era post offices—had they existed at the time—would have been
contrary to then-prevailing traditions and understandings. To the contrary, it is
abundantly clear that, even prior to the common existence of freestanding post
offices, Congress was finely attuned to the extremely sensitive nature of the
                                        12
      III. Combined with the historical regulations above, the
           Property Clause further reflects a historical
           understanding of the government’s authority to
           prohibit firearms in government buildings.

      Ayala argues that “federal statutes enacted pursuant to the police power

vested in Congress by the Property Clause remain subject to constitutional

scrutiny.” Ayala’s brief at 53 (quoting a district-court case from the Eastern

District of California). We have not argued otherwise. The Property Clause is

relevant here because, when taken together with the historical firearm

regulations mentioned in our principal brief, the government’s long recognized

authority over its own property further suggests that our framers likely would

have understood that it was within the government’s power to restrict firearms

in federally owned and operated buildings dedicated to the postal services, had

such buildings existed at the time of the framing. See United States’ principal

brief at 28–32. As the Ninth Circuit recently observed along similar lines, even

if the Second Amendment bars the government from prohibiting firearms in,

for example, a privately owned bank, the bank itself could “prohibit firearms as

a matter of the ordinary property-law right to exclude,” and “if a state operates

a bank, the state, too, may exercise its proprietary right to exclude, just as a




mail and sought to protect it.

                                       13
private property owner may.” Wolford, 116 F.4th at 970–71. 6

      IV. Recent cases further support the constitutionality of
          firearm prohibitions in schools and government
          buildings.

      No appellate court has yet addressed the constitutionality of 18 U.S.C.

§ 930 as to post offices, but two recent opinions recognize the government’s

authority to prohibit firearms in schools or related places following Bruen. In

Wolford v. Lopez, the Ninth Circuit held that Hawaii and California laws

banning firearms at playgrounds, youth centers, athletic areas, athletic

facilities, and most real property controlled by the Department of Parks and

Recreation or the Department of Fish and Wildlife, were likely valid. 116

F.4th 959 (9th Cir. 2024). The court noted that “playgrounds did not exist in

modern form at the time of the Founding” but are “found primarily at schools

and parks,” which “qualify as ‘sensitive places’ that have a historical tradition

of firearm bans.” Id. at 985. And in Antonyuk v. James, the Second Circuit held

that New York City laws banning the concealed carrying of handguns in parks

and zoos were not facially unconstitutional. 120 F.4th 941 (2d Cir. 2024). The

court found that “prohibiting firearms at zoos is consistent with the country’s



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      Amicus NRA has ended its quotation from Wolford right before this
portion, see NRA brief at 12, but this portion supports firearm bans on
government property when the government is acting in a proprietary capacity.
                                       14
tradition of regulating firearms in places of educational and scientific

opportunity, places heavily trafficked by children, and places that are densely

crowded,” id. at 1027, and that prohibiting firearms in urban parks fell “within

a national tradition of regulating firearms in often-crowded public squares,

including, specifically, city parks,” id. at 1026. The notion that the Second

Amendment prevents the government from prohibiting firearms in post offices

or any other government building, contrary to the Supreme Court’s assurances

in Heller and Bruen, is difficult to reconcile with these recent opinions, which

correctly recognize the binding force of the doctrinal limits in those cases.




                                       15
                                 Conclusion

      This Court should reverse the district court’s ruling that 18 U.S.C. § 930

is unconstitutional as applied to Ayala, vacate the order dismissing that count,

and remand for further proceedings.



                                           Respectfully submitted,

                                           ROGER B. HANDBERG
                                           United States Attorney

                                           DAVID P. RHODES
                                           Assistant United States Attorney
                                           Chief, Appellate Division

                                    By:    s/ Sean Siekkinen
                                           SEAN SIEKKINEN
                                           Assistant United States Attorney
                                           Appellate Division
                                           USA No. 192
                                           400 N. Tampa St., Ste. 3200
                                           Tampa, FL 33602
                                           (813) 274-6000
                                           sean.siekkinen@usdoj.gov




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          I certify that a copy of this reply brief and the notice of electronic filing

was sent by CM/ECF on December 9, 2024, to:

          LAURA J. DAINES
          Federal Public Defender’s Office

          Counsel for Emmanuel Ayala


                                                     s/ Sean Siekkinen
                                                     SEAN SIEKKINEN
                                                     Assistant United States Attorney




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